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UNITED STATES DISTRICT COURT
DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

HON. COLLEEN KOLLAR-
KOTELLY

V.

Case No. 22-cr-00170
TREVOR BROWN,

Defendant.

/

WAIVER OF IN-PERSON HEARING AND CONSENT TO PROCEED BY ZOOM

 

Understanding that I have a right to an in-person proceeding, I, Trevor
Brown, agree to have my competency hearing proceed via Zoom on November 21°"

at 3 p.m.

TREVOR BROWN
Central Virginia Regional Jail
13021 James Madison Highway
Orange, VA 22960

Date: ||-S-22.
